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 9
                               IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12

13   EASTON STOKES,                                       3:19-cv-04613-WHA

14                                            Plaintiff, DEFENDANT CALIFORNIA
                                                         ATTORNEY GENERAL ROB BONTA’S
15                  v.                                   RESPONSE TO ORDER REQUESTING
                                                         ADDITIONAL INFORMATION
16
     THE UNITED STATES DEPARTMENT
17   OF JUSTICE, WILLIAM BARR,                            Judge:        Hon. William Alsup
     individually and as Attorney General of the          Trial Date:   None Set
18   United States, THE U.S. BUREAU OF                    Action Filed: August 12, 2019
     ALCOHOL, TOBACCO, FIREARMS AND
19   EXPLOSIVES (ATF); REGINA
     LOMBARDO individually and as Acting
20   Director of ATF; THE FEDERAL
     BUREAU OF INVESTIGATION;
21   Christopher Wray individually and as
     Director of the Federal Bureau of
22   Investigation; STATE OF CALIFORNIA,
     ROB BONTA, individually and acting as
23   Attorney General of the State of California,
     THE SONOMA COUNTY SHERIFF'S
24   OFFICE, MARK ESSICK, individually and
     as Sheriff of Sonoma County,
25
                                           Defendants.
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            Defendant Attorney General Rob Bonta’s Response to Order Requesting Information (3:19-cv-04613-WHA)
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 1         Defendant California Attorney General Rob Bonta files this response to the Court’s July 26,

 2   2021 Order (ECF No. 110) requesting answers to five questions.

 3        1.       As the Court reads the Kaiser records on plaintiff, there is no reference to Section

 4   5150 or to any 72-hour hold. And in fact, there is an affirmative reference to plaintiff being

 5   “advised not to not attend school tomorrow” (Dkt. No. 79 at 5), and a reference to “IOP

 6   Screening 3/12/02” (id. at 10), which the Court presumes means intensive outpatient screening.

 7   Please state whether plaintiff was, in fact, detained for 72 hours under Section 5150 versus

 8   whether he was evaluated and allowed by Kaiser to return home with prescriptions. Please cite to

 9   and refer to every reference in the Kaiser records (or any other records) referring to Section 5150,

10   a 72-hour hold, a hold of any type, or anything else that would indicate plaintiff was ever held by

11   Kaiser under Section 5150.

12        Response: The record suggests that Mr. Stokes indeed was held under Section 5150,

13   although the available evidence indicates that Oakcrest, as opposed to Kaiser, imposed that hold.

14   More specifically, according to his Kaiser records, Mr. Stokes went to Kaiser three times on

15   March 11, 2002 – two times to the outpatient psychiatric department during the day and then to

16   the emergency room later that same day around 8:30 p.m. ECF No. 79-1 at p. 10 (“brought in by

17   foster parents today twice to psychiatry . . . sent home with rx . . . yet to pick them up but foster

18   parents found out more information from pts friends and feel pt is danger to self them and his

19   friends”); see also ECF No. 79 at pp. 1-10 (March 11, 2002 notes from psychiatric department).

20   Then, at some point after his evaluation at the Kaiser emergency room, Mr. Stokes was

21   transported to a mental health facility, Oakcrest, which unlike the Kaiser facility had the capacity

22   to deliver inpatient psychiatric treatment. See Nov. 20, 2020 Deposition of Easton Stokes (ECF

23   No. 88-1) at 105 (“And I ended up getting transported from Kaiser . . . . I don’t think they have a

24   psychiatric ward . . . .”). The facility that admits a patient under Section 5150 for treatment and

25   evaluation—in this case, Oakcrest—would place and report the 5150 hold. 1 See Cal. Welf. &

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               1
             An individual’s 5150 report is removed from the California Department of Justice’s
27   Mental Health Reporting System once his or her firearms prohibition expires after 5 years. See
     Cal. Welf. & Inst. Code § 8103(f)(1)(A).
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                                                         1
            Defendant Attorney General Rob Bonta’s Response to Order Requesting Information (3:19-cv-04613-WHA)
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 1   Inst. Code §§ 5150 and 8103(f)(2). Moreover, Oakcrest, which was Sutter’s Psychiatric Unit, 2

 2   reported Mr. Stokes’ 5250 hold to the California Department of Justice. ECF No. 89 at Exh. D.

 3   Under the relevant statutory framework, a 5150 hold is a necessary precursor to a 5250 hold. Cal.

 4   Welf. & Inst. Code § 5250. This series of events suggests that Oakcrest—as opposed to Kaiser—

 5   initially placed Mr. Stokes on a 5150 hold and then later determined that he needed to be held

 6   longer for treatment under Section 5250.

 7        In response to the Court’s order, the California Attorney General identifies the following

 8   additional documents indicating that Mr. Stokes was held for involuntary evaluation and

 9   treatment, which on balance also indicate that Oakcrest, as opposed to Kaiser, imposed the

10   relevant 5150 hold:

11        •       Nov. 20, 2020 Deposition of Easton Stokes. ECF No. 88-1 at 106, 133 (Mr. Stokes

12                testifying that “I voluntarily went to [Oakcrest] 3 in an ambulance, and that’s when I was

13                declared a 5150” and “while I was in the ambulance talking with the paramedic in the

14                back,” “I could hear over the radio that so-and-so ambulance is transferring a patient

15                who’s a 5150 to Oakcrest.”).

16        •       Kaiser Patient Progress Record (ECF No. 79 at p. 11) stating “Probable 14 day hold” in

17                the 3/14/02 entry.

18        •       Declaration of Easton Stokes dated May 5, 2019 and filed with his complaint. ECF No.

19                1-1 at ¶ 3 (“I was told that personnel at Kaiser decided to label me at [sic] “5150 in

20                order to transport me to Oakcrest hospital via ambulance.”).

21        2.        Under the California scheme used by Sonoma County in 2002, when a patient

22   voluntarily accepted a commitment, how was it documented? If a patient voluntarily accepted a

23   14-day hold for intensive psychiatric treatment, was that nevertheless documented as a Section

24   5250 hold? If not, how was it documented or supposed to be documented?

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                Sutter Health operated Oakcrest in 2002, but it was closed in 2008. See Carol Benfell,
     Sutter’s psychiatric unit to close in 2008, The Press Democrat, March 10, 2006, available at
26   https://www.pressdemocrat.com/article/news/sutters-psychiatric-unit-to-close-in-2008/.
              3
                Although the transcript says that he “went to Kaiser in an ambulance,” Mr. Stokes likely
27   meant to say Oakcrest because he testified that Nancy Barker (his friend’s mother) drove him to
     Kaiser and that he was transported to Oakcrest in an ambulance. Id. at 104, 107. In other words,
28   it is undisputed that Mr. Stokes did not go to Kaiser in any ambulance.
                                                       2
              Defendant Attorney General Rob Bonta’s Response to Order Requesting Information (3:19-cv-04613-WHA)
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 1        Response: The California Attorney General refers to California Welfare and Institutions

 2   Code section 6002 which specifies certain requirements when an adult (i.e., an individual over 17

 3   years of age) is voluntarily admitted for treatment to a private institution. In particular, the Code

 4   requires that the patient must make “a written application to the person in charge of admission

 5   into the institution, hospital, or clinic” and the patient must also be, “at the time of making the

 6   application, mentally competent to make the application.” Cal. Welf. & Inst. Code § 6002(a).

 7   After admission, the mental health facility must “forward to the office of the State Department of

 8   State Hospitals a record of the voluntary patient showing all information required by rule by the

 9   department.” Id. at § 6002(b). It is also possible that the mental health facility had other

10   requirements for documenting when a patient voluntarily accepts a commitment.

11        Given the requirements discussed above, a patient who voluntary accepts treatment would

12   not be documented as certified for intensive treatment under Section 5250. A patient can only be

13   certified under Section 5250 if the mental health facility’s professional staff finds that the patient,

14   “as a result of a mental health disorder or impairment by chronic alcoholism, [is] a danger to

15   others, or to himself or herself, or gravely disabled” and is unwilling or unable “to accept

16   treatment on a voluntary basis.” 4 Id. at §§ 5250(a) and 5250(c). Moreover, as discussed above, a

17   patient’s record of voluntary treatment would be sent to the State Department of State Hospitals,

18   and no report would have been submitted to the California Department of Justice. Id. at

19   § 6002(b); cf. id. at § 8103(g)(2) (requiring a report to the California Department of Justice if a

20   person has been certified under Section 5250, not if the patient is admitted voluntarily under

21   Section 6002).

22        3.       Please supply the filled-out form used to report plaintiff to the California DOJ. It

23   appears that the form should have been called “Mental Health Facilities Report of Firearm

24   Prohibition Form 4009A,” according to a California DOJ, Division of Law Enforcement,

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               Here, given Mr. Stokes’ mental state of confusion and disorientation at the time of his
     5250 hold, it is possible that mental health professionals determined that he was not mentally
27   competent or able to voluntarily accept treatment. See Attorney General’s Opposition to
     Plaintiff’s Cross-Motion for Summary Judgment, ECF No. 94, at pp. 1-2 (citing Nov. 20, 2020
28   Deposition of Easton Stokes at 103, 110-111).
                                                       3
            Defendant Attorney General Rob Bonta’s Response to Order Requesting Information (3:19-cv-04613-WHA)
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 1   Information Bulletin, dated May 22, 2007 (attached to this order). The California DOJ shall

 2   produce this form as it pertained to plaintiff.

 3         Response: The California Attorney General refers to Plaintiff’s Firearms Prohibition

 4   Summary that was attached as Exhibit D to the Attorney General’s Motion for Summary

 5   Judgment (ECF No. 89 at Exh. D). The information in that summary contains the same

 6   information that would have been reported from the mental health facility in paper form in 2002.

 7   See Attachment A (blank Form 4009A). Paper records were entered into the Mental Health

 8   Reporting System when it moved online in July 2012 and the paper records are no longer

 9   maintained. See Gilbert Mac Declaration (ECF No. 89-1), at ¶ 11.

10         4.     Section 5252 prescribed a notice of certification. All parties shall supply the specific

11   version of that form as filled out in 2002 for plaintiff.

12         Response: Mental health facilities are not required to provide a copy of the Section 5252

13   notice of certification to California Department of Justice. Thus, the California Department of

14   Justice does not have a copy of Mr. Stokes’ notice of certification.

15         5.     Did it make any difference in terms of who paid for his treatment (or for funding for

16   the facility) whether the treatment was documented as a Section 5150 or Section 5250?

17         Response: The California Attorney General does not have sufficient information to

18   respond to this question. The California Attorney General is not aware of who pays for treatment

19   under Section 5150 or Section 5250 or how much mental health facilities receive for such

20   treatment.

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            Defendant Attorney General Rob Bonta’s Response to Order Requesting Information (3:19-cv-04613-WHA)
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 1   Dated: July 29, 2021                                       Respectfully Submitted,

 2                                                              ROB BONTA
                                                                Attorney General of California
 3                                                              ANTHONY R. HAKL
                                                                Supervising Deputy Attorney General
 4

 5

 6                                                                    /s/ Jerry T. Yen
                                                                JERRY T. YEN
 7                                                              Deputy Attorney General
                                                                Attorneys for State of California and Rob
 8                                                              Bonta, in his official capacity as California
                                                                Attorney General
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               Defendant Attorney General Rob Bonta’s Response to Order Requesting Information (3:19-cv-04613-WHA)
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                   V 1 .in..L
                                                Attachment A
                        MENTAL HEAL TH FACILITIES REPORT
                            OF FiREARMS PROHIBITION
                            (Welfare and Institutions Code (\VIC) Sections 8103(f) & (g) and 8105)
                      0     ORlGINAL                 0    CORRECTION               0        DISCHARGE

                                      PART I - PATIENT INFORMATION
                                                                                                 AKA(S)


                                                                                                                       HAIR



                                                                                           DRIVER'S LICENSE NDlvfBER




                                     PART IT - FACILITY INFORMATION


  ADDRESS                                                               ZIP CODE                  DATE



  CONTACT PERSON                                          TITLE
                                                                                       !   TELEPHONE   NUMB ER
                                                                                       I




                        PART III - mc SECTION8103 INFORMATIONONLY
   0     5150/5151/5152 WIC
        (Danger to Self or Others Only-
        Not GravelyDisabled)
                                                           DATE OF ADMISSION                   *DATE OF DISCHARGE FROM
   0     5250 WIC                                        ASJNVOLUNfARYPATIENT                    INVOLUNTARY STATUS
         (14 Day Hold - Includes Gravely Disabled)
   0     5260 WIC
         (14 Day Hold - Suicide)
                                                            ~                                           ~
                                                                                                *Discharge report required only if
   0    5270.15 WIC                                                                             patient is discharged more than 31
                                                                                                days from admission.
        (30 Day Hold)


                   PART IV - WIC SECTION 810S/8100(a) INFORLV1ATIONONLY
                        THIS SECTION SHOULD NOT BE COMPLETED IF PART III IS APPLICABLE.


  0     81O0(a)WIC INPATIENT
        (Danger to Self or Others                         ~
                                                         DATE OF ADMISSION AS
                                                                                                       ~
                                                                                                    DATE OF DISCHARGE
        pursuant to 81 OO(f) 'WIC)
                                                          VOLUNTARY PATIENT

     DISTRIBUTION COPIES: White (Original DOl); Yellow (Facility); Pink (Facility); Green (Discharge Report)

                               SEE BACK OF-FORM FOR ADDITIONAL INSTRUCTIONS
FD 4009A (10/99)
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                                CERTIFICATE OF SERVICE
Case Name:       Easton Stokes v. US DOJ, et al           No.    3:19-cv-04613-WHA

I hereby certify that on July 29, 2021, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
DEFENDANT CALIFORNIA ATTORNEY GENERAL ROB BONTA'S RESPONSE TO
          ORDER REQUESTING ADDITIONAL INFORMATION
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on July 29,
2021, at Sacramento, California.


               Lindsey Cannan                                   /s/ Lindsey Cannan
                  Declarant                                           Signature

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